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     EXHIBIT 1
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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

IN RE: DEPUY ORTHOPAEDICS,                                   §
INC., PINNACLE HIP IMPLANT                                   §   MDL Docket No.
PRODUCTS LIABILITY                                           §
LITIGATION                                                   §   3:11-MD-2244-K
                                                             §
------------------------------------------------------       §
This Document Relates to All Cases                           §
------------------------------------------------------       §

               ORDER GRANTING MOTION FOR FINAL ASSESSMENT

         Before the Court is the parties’ Sealed Motion for Final Assessment (Doc. 983),

filed jointly by the Plaintiffs’ Executive Committee (“PEC”) and Defendants. As agreed

with Defendants, the PEC requests the Court reduce the 25 percent preliminary

holdback and instead assess a 10 percent holdback of common benefit funds for costs

and fees. Also before the Court are the PEC’s Sealed Motion for Sanctions and to

Compel (Doc. 966) and Sealed Supplemental Motion for Sanctions and to Compel

(Doc. 971), to which Defendants filed no response. Having considered these motions,

the Court GRANTS IN PART the Motion for Final Assessment and DENIES as moot

the sanctions motions for the reasons set forth in this Order.

                                          I.        BACKGROUND

         In August 2018, the Court issued a Preliminary Holdback Order (Doc. 889).

That Order required Defendants to hold back 10 percent of the gross value of any

settlement or judgment in a case that has been or is included in this MDL for the

common benefit fund pending the determination of a common benefit assessment. Of


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the holdback, 70 percent (7 percent of the gross value) would be held back for common

benefit attorneys’ fees, and 30 percent (3 percent of the gross value) would be held

back for costs expended for the common benefit of Plaintiffs. No parties objected to

that Order, although the PEC filed a reservation of rights (Doc. 898), in which it did

not concede that the preliminary 10 percent holdback should be the final assessment.

       Starting on November 21, 2018, Defendants informed the Court that at least

3,000 of the more than 10,000 cases pending in this MDL were subject to confidential

settlements with certain Plaintiffs’ counsel. Notwithstanding the imminent nature of

payments in potentially thousands of cases and acknowledging that tens of millions of

dollars of common-benefit fees and expenses were potentially in controversy,

Defendants informed the Court that they were unable to calculate the amount subject

to the Preliminary Holdback Order for approximately four months. Unlike MDLs in

which the ultimate settlement or judgment value is known, Defendants’ confidential

settlements left the Court without necessary information about the total or projected

value of settlement, let alone the amount of holdback funds to be deposited in the

Court’s registry.

       Upon motion by the PEC (Doc. 913) and after a full opportunity for briefing by

all parties, the Court increased the holdback amount to 25 percent in December 2018

(Doc. 924). Although the Court had the benefit of the to-date lodestar amount at that

point, the Court still had incomplete data regarding settlements. At the time, this

change was immediately deemed “unprecedented,” “unwarranted,” “unreasonable,”



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“inappropriate,” and alleged to be “dragging this litigation out farther” in a response

and objection by Defendants and dozens of responses and objections filed by certain

Plaintiffs’ firms; however, it now appears the Court’s action was prescient.

      On the February 1, 2019, after 5 days into the fifth jury trial the PEC and

Defendants informed the Court of the specific terms of an inventory settlement for

certain firms.   Defendants have informed the Court that they estimate the total

settlement payments to resolve claims regarding the DePuy Pinnacle litigation is

$950,000,000. At 25 percent of the gross settlement amount the holdback would be

$237,500,000, and at 10 percent of the gross settlement amount the holdback would

be $95,000,000—a difference of $142,500,000.          The February 1, 2019, terms of

settlement required the PEC and Defendants to jointly move the Court to reduce the

holdback from 25 percent to 10 percent on the condition that Defendants also agree

to contribute up to $139,600,000 to a fund to be used for common benefit fees and

expenses to make up for the reduction in the holdback percentage. The Defendants

also agreed to retain an ethics expert regarding the propriety of the direct common-

benefit payment subject to this Court’s approval, and to withdraw their objections that

the 25 percent holdback was “unprecedented,” “unwarranted,” “unreasonable,” and

“inappropriate” and persuade all objecting Plaintiffs to withdraw their objections.

Contemporaneous with the filing of the motion for final assessment, Defendants and

all objecting Plaintiffs withdrew their objections in unison.      As a result of this

agreement, Defendants are agreeing to a 10 percent holdback, estimated at



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$95,000,000, plus a supplemental common-benefit fund payment of up to

$139,600,000 for a total of $234,600,000—24.6 percent of the estimated total

settlement payments of $950,000,000.

                              II.    LEGAL STANDARD

       Given the voluminous and contentious briefing stretching back many months

across several dozen filings, the Court is not inclined to recount all of the

since-withdrawn arguments and will not address arguments made in now-dismissed

appellate proceedings not directly material to this Order. The Court has reviewed and

considered all relevant filings and will duly apply the applicable legal authorities.

   A. The Court has Broad Common Benefit Holdback Authority.

       As stated in its multiple orders on this topic, the Court can create a holdback

from potential settlement payments or judgments that must be paid by Defendants

through its inherent authority to establish common benefit funds, assess parties and

their counsel, and appropriate and distribute those funds. See In re Air Crash Disaster

at Fla. Everglades on Dec. 29, 1972, 549 F.2d 1006 (5th Cir. 1977). A common benefit

fund is designed to compensate attorneys for the costs incurred and work performed

for the common benefit of all plaintiffs and their counsel. In re Vioxx Prods. Liab. Litig.,

760 F. Supp. 2d 640, 647 (E.D. La. 2010). The primary theory supporting such funds

is the common benefit doctrine, which holds that persons who obtain the benefits of a

lawsuit without contributing to defraying its costs are unjustly enriched at the

successful litigant’s expense. See id.



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      The Court must therefore exercise its managerial power to establish an equitable

common benefit fund and ensure that all attorneys working for the Plaintiffs’ common

benefit are adequately compensated for their contributions and reimbursed for the

appropriate expenses that contributed to the Plaintiffs’ successes, if any. See In re Air

Crash Disaster, 549 F.2d at 1013-14 (citing FED. R. CIV. P. 42(a) and emphasizing the

strength and necessity of the trial court’s managerial power in multidistrict litigation);

id. at 1020 (acknowledging that although the trial court could not determine the exact

percentage that should be contributed to a common fund without a liability finding,

the interest of justice required such a fund be established so the court could make a

just distribution when it had adequate information to do so). And as in this case, “[t]he

need for a court to exercise its managerial powers . . . may take precedence over the

desires of counsel.” Id. at 1014.

   B. The Court Must Determine the Reasonableness of Any Assessment.

      To determine the reasonableness of Plaintiffs’ attorneys’ fees, the Fifth Circuit

has adopted the 12-factor “lodestar” test enunciated in Johnson v. Georgia Highway Exp.,

Inc., 488 F.2d 714 (5th Cir. 1974). These factors are:

      (1) the time and labor required;
      (2) the novelty and difficulty of the questions;
      (3) the skill requisite to perform the legal services properly;
      (4) the preclusion of other employment by the claimant’s attorney due to
      acceptance of the case;
      (5) the customary fee;
      (6) whether the fee is fixed or contingent;
      (7) time limitations imposed by the claimant or the circumstances;
      (8) the amount of recovery involved and the results obtained;
      (9) counsel’s experience, reputation, and ability;


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      (10) the “undesirability” of the case;
      (11) the nature and length of the professional relationship with the claimant;
      and
      (12) awards in similar cases.

Id. at 717-19.   “[M]any of these factors usually are subsumed within the initial

calculation of hours reasonably expended at a reasonable hourly rate.” Hensley v.

Eckerhart, 461 U.S. 424, 434 n.9 (1983).

                                  III.   ANALYSIS

      As in the 25 percent Amended Preliminary Holdback Order, the Court finds the

effective 24.6 percent holdback adequate and necessary given its review of the PEC’s

Motion for Final Assessment as agreed by Defendants, its firsthand knowledge of the

common benefit attorneys’ efforts, skill, and results, its review of other relevant MDL

proceedings, and its application of the Johnson factors. Understanding that Defendants

have agreed to make a direct common benefit payment of $139,600,000 and having

reviewed the ethics expert’s opinion provided by Defendants, the Court will apply a 10

percent holdback under the conditions and terms stated in this Order.

      The Court finds that the direct payment is appropriate, because, as outlined in

the PEC’s motions for sanctions, Defendants’ actions increased both time and expenses

incurred for the common benefit throughout every phase of this litigation. (Docs. 966,

971). Many of Defendants’ actions are recounted in the PEC’s sanctions motions. See

id. Rather than recite a laundry list of questionable conduct within this Order, the

Court will unseal those now-mooted motions—which would be well-taken by the Court




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but for the parties’ settlement. As outlined below, this delta, in addition to the ten

percent holdback is reasonable.

      A. The Court Finds the Common Benefit Fees Sought are Reasonable.

      Applying the Johnson factors, the Court finds as follows:

      (1) The time and labor required were immense. Plaintiffs and their counsel first

appeared before this Court in 2011. They spent 134 days in trial and sifted through

more than 100 million pages of documents produced, in addition to responding to two

mandamus proceedings and three appeals spawned by this MDL.              Recent totals

provided to the Court show that Plaintiffs’ firms have accounted for more than 246,000

hours of common benefit time since 2011.

      (2) The novelty and difficulty of the questions were substantial. Both Plaintiffs

and Defendants, at times, agreed that this MDL presented questions of first impression

before this Court and within the Fifth Circuit.      One of Defendants’ mandamus

proceedings, regarding venue waiver, proceeded entirely on that basis. Given the lack

of binding precedent on MDL proceedings in this Circuit and, indeed, throughout the

federal judiciary, the Court asked Plaintiffs and Defendants to thoroughly brief and

explain their positions on numerous novel and difficult questions.

      (3) The skill requisite to perform the legal services properly was exceptional.

Defendants were ably represented by multi-national law firms.          At one point,

Defendants asserted they had 50 lawyers working on this case. To fight Defendants to




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a draw—or, in reality, better—Plaintiffs’ legal skill was readily apparent to even a casual

observer.

       (4) The preclusion of other employment by the claimant’s attorney due to

acceptance of the case is noted. The Court understands that, based on this MDL,

certain Plaintiffs’ attorneys declined invitations to join other large cases in significant

roles that could yield large recoveries and fees.

       (5) The customary fee is typically based on the lodestar figure, which is simply

hours billed multiplied by hourly rate. Plaintiffs’ request for common benefit fees and

expenses is in line with this Court’s expectations given the length and complexity of

this proceeding.

       (6) Whether the fee is fixed or contingent is largely immaterial under a lodestar

calculation, although most Plaintiffs’ counsel have contingent agreements with their

clients due to fronting the cost and labor of this proceeding.

       (7) Time limitations imposed by the claimant or the circumstances are relatively

immaterial given the length of this MDL proceeding and effort required to reach a

global settlement.

       (8) The amount of recovery involved and the results obtained appear solidly

within expectations.    Although Plaintiffs lost the first bellwether trial, they were

ultimately successful in the remaining trials with total verdicts exceeding $1 billion.

The settlement amounts, as reviewed by the Court, are in line with other relevant MDL

proceedings.



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       (9) Counsel’s experience, reputation, and ability are unquestioned. Plaintiffs

were represented by many of the most experienced and able attorneys in the country,

with trial counsel providing exceptional service across 134 days in the courtroom and

thousands of others outside.

       (10) The “undesirability” of the case became apparent after the first bellwether

trial loss. Plaintiffs could have agreed to a settlement that devalued their claims.

Instead, Plaintiffs’ counsel fought through years more discovery, three more trials, two

mandamus proceedings, and three appeals just to reach this settlement. The Court is

aware that some Plaintiffs’ firms declined to participate in common benefit assessments

after the first trial; those that stayed well deserve their fees and costs.

       (11) The nature and length of the professional relationship with the claimant(s)

is, in many cases, nearing a decade. This MDL has been pending eight years, with

many cases filed before consolidation in this Court and the bulk of settlement dollars

remaining to be distributed.      Plaintiffs and their counsel deserve credit for their

patience and persistence.

       (12) Awards in similar cases are in line with this Order, as the PEC demonstrates

in the Motion for Final Assessment, to which Defendants agree. Here, if including the

additional difference covered by Defendants, the Court calculates the maximum

multiplier to fall around 1.33 times the lodestar amount submitted by Plaintiffs. This

is on the low side of the relevant MDL authorities submitted by the parties.




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                                IV.   CONCLUSION

      For these reasons, the Court GRANTS IN PART the PEC’s Motion for Final

Assessment. Defendants and their counsel shall hold back the percentage described

herein of the gross value of any settlement or judgment in a case that has been or is

included in this MDL for the common benefit fund pending the determination of a

common benefit assessment, if any. Of the holdback, 7 percent of the gross value shall

be held back for common benefit attorneys’ fees, and 3 percent of the gross value shall

be held back for costs expended for the common benefit of Plaintiffs until satisfied.

      Defendants shall continue to deposit all holdback funds in an interest-bearing

common benefit fund in the registry of the Court unless instructed otherwise by the

Court in a subsequent order. Defendants shall continue to provide monthly statements

in camera to the Court showing the aggregate of the amount deposited in the Court’s

registry pursuant to this Order. Defendants shall abide by this Order for cases in this

MDL that are remanded from this Court to a state court or transferred to other federal

judicial districts pursuant to 28 U.S.C. § 1407(a).

      The Clerk is ORDERED to unseal the PEC’s Motion for Sanctions and to

Compel (Doc. 966) and the PEC’s Supplemental Motion for Sanctions and to Compel

(Doc. 971), although all supporting exhibits shall remain under seal.

      SO ORDERED.

      Signed July 22nd, 2019.
                                        ____________________________________
                                        ED KINKEADE
                                        UNITED STATES DISTRICT JUDGE


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